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                      Attorneys for Defendant
               13
                      Allegiant Air, LLC
               14
                                                  UNITED STATES DISTRICT COURT
               15
                                                          DISTRICT OF NEVADA
               16
                                                                         Case No. 2:20-cv-01444-GMN-BNW
               17      COLLIN COFFMAN,

               18                            Plaintiff,                     STIPULATION AND ORDER TO
                                                                           EXTEND TIME FOR DEFENDANT
               19      v.                                                   TO RESPOND TO PLAINTIFF’S
                                                                            FIRST AMENDED COMPLAINT
               20
                       ALLEGIANT AIR, LLC,
                                                                                    (FIRST REQUEST)
               21
                                             Defendant.
               22
                             IT IS HEREBY STIPULATED by and between Plaintiff COLLIN COFFMAN
               23
                      (“Plaintiff”), through his counsel, The Urban Law Firm, Defendant, ALLEGIANT AIR, LLC
               24
                      (“Allegiant” or “Defendant”), by and through its counsel, Jackson Lewis P.C., that Defendant shall
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                      have a 21-day extension up to and including November 3, 2020, in which to file its response to
               26
                      Plaintiff’s First Amended Complaint. This Stipulation is submitted and based upon the following:
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               28
JACKSON LEWIS P.C.
    LAS VEGAS
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                 1           1.     Plaintiff filed his Complaint on August 4, 2020. ECF No. 1. Defendant was served

                 2    with the Complaint on August 18, 2020. ECF No. 7.

                 3           2.     On September 4, 2020, the parties stipulated to allow Defendant additional time to

                 4    file its response to the Complaint. ECF No. 9. The stipulation was granted by the Court on

                 5    September 10, 2020. ECF No. 13.

                 6           3.     Plaintiff filed his First Amended Complaint on September 28, 2020. ECF No. 18.

                 7           4.     Defendant’s response to the Complaint is currently due on October 13, 2020.

                 8           5.     Due to the press of other matters, including adjustments made necessary by the

                 9    COVID-19 pandemic, and in order to adequately respond to the pleading, counsel for Defendant

                10    requires additional time and requests a twenty-one (21) day extension, up to and including

                11    November 3, 2020, to file its response to Plaintiff’s First Amended Complaint.

                12            6.    This is the first request for an extension of time for Defendant to file a response to

                13    Plaintiff’s First Amended Complaint.

                14            7.    This request is made in good faith and not for the purpose of delay.

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JACKSON LEWIS P.C.
                                                                      2
    LAS VEGAS
                     Case 2:20-cv-01444-GMN-BNW Document 22
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                 1            8.    Nothing in this Stipulation, nor the fact of entering to the same, shall be construed

                 2    as waiving any claim and/or defense held by any party.

                 3           Dated this 13th day of October, 2020.

                 4     JACKSON LEWIS P.C.                                   THE URBAN LAW FIRM

                 5
                       /s/ Joshua A. Sliker                                 /s/ Nathan R. Ring
                 6     JOSHUA A. SLIKER, ESQ.                               NATHAN R. RING, ESQ.
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                       AMBER ARNETTE, ESQ.                                  Admitted Pro Hac Vice
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                       271 – 17th Street, NW, Suite 1900
                13     Atlanta, Georgia 30363                               Attorneys for Plaintiff Collin Coffman

                14     Attorneys for Defendant
                       Allegiant Air, LLC
                15

                16                                                   IT IS SO ORDERED.
                17                                                   IT IS SO ORDERED
                                                                     _____________________________________
                                                                      DATED: 2:50 pm, October 16, 2020
                18
                                                                     United States District Court / Magistrate Judge
                19
                                                                     Dated: __________________________
                20
                                                                     BRENDA WEKSLER
                21                                                   UNITED STATES MAGISTRATE JUDGE
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JACKSON LEWIS P.C.
                                                                        3
    LAS VEGAS
